  Case 21-30589-MBK             Exhibit
                        Doc 2611-1      A-1 06/27/22 Entered 06/27/22 13:27:48
                                     Filed                                       Desc
                               Exhibit A-1 Page 1 of 2
Number                                                       Type of Disease
                          AddAddress
                                                     Mesothelioma
  1      Jeannette V.

                                                   Mesothelioma
  2      Susan B.

                                                   Mesothelioma
  3      Catherine M.

                                                   Mesothelioma
  4      Emily D.

                                                   Mesothelioma
  5      Alan G.

                                                   Mesothelioma
  6      Roberto R.
                                                   Mesothelioma
  7      Carol M.

                                                   Mesothelioma
  8      Giovanni S.

                                                   Mesothelioma
  9      Newel A.

                                                   Ovarian Cancer
  10     Katrina U.


                                                    Mesothelioma
  11     Sydney L.

                                                   Mesotheliom
  12     James B.

                                                   Mesotheliom
  13     Patricia J.

                                                                   Mesotheliom
  14     Pilar A.
Case 21-30589-MBK   Doc 2611-1 Filed 06/27/22 Entered 06/27/22 13:27:48   Desc
                           Exhibit A-1 Page 2 of 2
